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UN|TED STATES DlSTRlCT COURT fn H"\ gray _€A/ pl g
WESTERN DlSTRICT OF TENNESSEE ! :"`"' n ' ~ "'H'~"
EASTERN DIVISION
95 \.il_l;;r;' 30 roll 3: 353
UNlTED STATES OF AMERICA

-v- 04-10010-01-T

 

ViRG|L GOODMAN, JR.
Jeff Muei|er CJA
Defense Attorney
1289 N. Highiand Avenue
Jackson, TN 38301

 

 

JUDGMENT iN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant Was found guilty on Count 1 of the indictment on i\/iarch 04, 2005.
Accordingiy, the court has adjudicated that the defendant is guilty of the following

offense(s):
Date Offense Count
Title & Section Nature of Offense Concluded Number(sl
21 USC § 841(a)(1) Possession of Methamphetamine 12/03/2003 1

with intent to Distribute

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Niandatory
Victims Restitution Act of 1996

iT iS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until ali
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 08/20/1956 June 30, 2005
Deft’s U.S. i\/|arsha| No.: 19335-076

Defendant’s i\/|aiiing Address:
15081 Highway 104 North
i_exington, TN 38351

  

599-aha

JA s o. Tooo
c EF uNlTEo sTATEs olsTRlcT Juer

Thls document entered on the docket sheet in compliance Ju ne 30 , 2005
with sure 55 and;or 32{b) Fnch on ”`i

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lMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 262 Months as to the One (1) Count lndictment,
to be served consecutively to the Tennessee Department of Correction sentence
currently being served by defendant in Henderson County Circuit Court, #03-039-2
and #03-079-3.

The Court recommends to the Bureau of Prisons: institution as close to defendant’s
home as possiblel

The defendant is remanded to the custody of the United States Marshai.

RETURN

l have executed this judgment as foliows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UNiTED STATES MARSHAL
By:

 

Deputy U.S. |V|arsha|

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SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 6 years as to the One (1) Count indictment

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised reiease, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S[ON

1. The defendant shall not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchasel possess, use,

distribute or administer any narcotic or other controlled substancel or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

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8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation oft"icer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics, and shall permit
the probation officer to make such notificatlcns and to confirm the defendant’s compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate as directed in a program of testing and/or treatment for
substance abuse as directed by the Probation Office.

2. The defendant shall cooperate in the collection of DNA as directed by the Probation Office.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythefoliowing total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Totai Assessment Tota| Fine Tota| Restitution

$100.00

The Special Assessment shall be due immediate|y.

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FlNE
No fine imposed
REST|TUT|ON

No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 106 in
case 1:04-CR-10010 Was distributed by faX, mail, or direct printing on
July 1, 2005 to the parties listed.

 

 

J eff Mueller

LAW OFFICES OF JEFF MUELLER
P.O. Box 3146

Jackson7 TN 38303

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

